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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                           Criminal No. 09-cr-180-01-JD

Manuel Guzman-Ovaez


                                  O R D E R


        The assented to motion to reschedule jury trial (document no.

27 ) filed by defendant is granted; Trial is continued to the two-

week period beginning July 20, 2010, 09:30.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                          Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:     April 27, 2010




cc:   Neil Faigel, Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation
